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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------X
JOSHUA P. NATKIN,                                                 Case No.: 7:21-cv-03132 (KMK) (PED)

                                            Plaintiff,            STIPULATED PROTECTIVE
                                                                  ORDER OF CONFIDENTIALITY
                          -against-

FIREBLAST GLOBAL, INC.,

                                            Defendant.
--------------------------------------------------------------X
FIREBLAST GLOBAL, INC.,

                                   Third-Party Plaintiff,

                  -against-

COUNTY OF WESTCHESTER,

                                   Third-Party Defendant.
--------------------------------------------------------------X
    IT IS HEREBY STIPULATED BY AND BETWEEN THE PARTIES AS
FOLLOWS:

         Third-Party Plaintiff FIREBLAST GLOBAL, INC. (hereinafter referred to as "Fireblast")
and Third-Party Defendant COUNTY OF WESTCHESTER (hereinafter referred to as the
"County") recognize that discovery responses from Fireblast in this matter may call for or
require the production of material containing information which is confidential information
relating to this litigation and subject to privacy protections guaranteed by the United States and
New York Constitutions, or which a party contends is confidential and proprietary business
information and other commercially sensitive information in which a party has a protected
proprietary and property interest. In order to preserve and maintain the confidentiality of certain
information produced by Fireblast or discovered in this litigation by the parties and in order to
facilitate an orderly, timely and economic discovery process, the Court orders as follows:

1.      "Confidential Material." As used in this Protective Order, Confidential Material shall
refer to information and Records of any party designated as trade secrets or confidential
information. (See, irifra, ,r 4 (setting forth the procedure for designating confidential material)).
All Confidential Material is the exclusive, inalienable property of the producing party.

2.      "Records." As used in this Protective Order, Records shall mean information, both
discrete and cumulative, that is inscribed or otherwise recorded on a tangible medium or that is
stored in an electronic or other medium and is retrievable in perceivable form. Records includes
both electronic Records and printed or typewritten.


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3.      Scope. This Protective Order shall govern Confidential Material produced or disclosed
by the producing party in response to formal or informal discovery conducted in this matter.
Nothing in this Protective Order shall be deemed to preclude the producing party's right to: (a)
oppose discovery on grounds not addressed under the terms of this Protective Order, or (b) object
on any ground to the admission of any Confidential Material into evidence at trial. Further,
nothing contained in this Protective Order shall prejudice the right of any party to contest the
alleged relevancy, admissibility, or discoverability of the Confidential Material sought.

4.      Designation of Confidential Material. The producing party may designate all or any
portion of documents, things, and information it produces formally or informally to other parties
to this litigation as Confidential Material. The designation of Confidential Material shall be
made by any practicable means, including placing on the thing so designated, such that it will not
interfere with its legibility, an appropriate notice such as the following: Confidential Material.
Confidential Material will be Bates stamped, if appropriate. All materials designated as
Confidential Material shall be treated as such pursuant to the terms of this Protective Order
until further order by the Court.

5.      Inadvertent or Unintentional Production. The inadvertent, unintentional, or in camera
production of any Confidential Material shall not, under any circumstances, be deemed a
waiver, in whole or in part, of the confidentiality of the Confidential Material in question. If
the producing party should inadvertently produce any Confidential Material not responsive to a
formal discovery demand and/or an order of the Court, the recipient shall immediately return the
Confidential Material, including all copies thereof, to the producing party, and shall make no
use of the Confidential Material for any purpose.

        If information subject to a claim of attorney-client privilege, attorney work product or
any other legal privilege protecting information from discovery is inadvertently produced to a
party or parties, such production shall in no way prejudice or otherwise constitute a waiver of, or
estoppel as to, any claim of privilege, work product or other ground for withholding production
to which the producing party or other person otherwise would be entitled. If a claim of
inadvertent production is made pursuant to this Section, with respect to information then in the
custody of another party, such party promptly shall return to the claiming party or person that
material and all copies or reproductions thereof as to which the claim of inadvertent production
has been made, shall destroy all notes or other work product reflecting the contents of such
material, and shall delete such material from any litigation-support or other database.

6.      Objection to Designation. If any party objects to the designation of any record as
Confidential Material, that party shall promptly notify the designating party in writing within
thirty (30) days receipt of the Confidential Material, specifying the factual and legal basis for
the objection. Failure to timely object to the designation of any record as Confidential Material
does not operate as a waiver of such objection provided that the objecting party demonstrates
good cause for having failed to timely object. If a dispute arises that cannot be resolved by
agreement, then the dispute will be submitted to the Court by the designating party via motion or
letter application, as instructed by the Court. Pending such determination (or the expiration of
the period in which the producing party may make a challenge to an adverse ruling), the Records
shall be maintained as Confidential Material.




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7.     Access to Confidential Material. Access to Confidential Material shall be limited to
Authorized Persons, solely in the performance of their duties in connection with trial
preparation of this case. Authorized Persons are:

       (a)     The parties, counsel, insurers, and claims administrators for the parties to the
pending civil action articulated above;

        (b)    Paralegal, secretarial, administrative, and legal personnel working under the
direction and control of those counsel, insurers, or claims administrators for the parties;

       (c)     Outside experts and consultants retained by counsel, insurers, or claims
administrators for the parties, or any experts and consultants under consideration for retention,
who have first consented to this Protective Order and signed the Promise of Confidentiality and
agreed in writing to be bound by its terms;

        (d)     Fact witnesses at deposition or at trial who need to refer to Confidential Material
in their testimony, who have first consented to this Protective Order and signed the Promise of
Confidentiality and agreed in writing to be bound by its terms; and

       (e)     Judge Kenneth M. Karas, Magistrate Judge Paul E. Davison, court staff and
personnel (legal and administrative), judges, court reporters, videographers, all of whom may be
required to consent to this Protective Order and sign the Promise of Confidentiality.

        Access to Confidential Material shall not be given to any person or entity not
specifically described above, including to members of the general public. However, nothing in
this Protective Order shall prohibit the producing party from utilizing the Confidential Material
as it deems appropriate, and any such use by the producing party shall not destroy the
confidentiality of the Confidential Material in question.

        Authorized Persons shall not include any organization or entity, or any representative
thereof, which regularly maintains and/or disseminates documents or information regarding
documents, including abstracts or summaries, or any other Records as a service to its members,
subscribers, or others.

         Under no circumstances shall access to Confidential Material be granted to any
employee of any competitor of the producing party, or any person who, within the past two
years, has been affiliated with, employed by, or consulted with a competitor (or an entity in
privity with a competitor) of the producing party regarding research, development, production, or
testing of tires or, over the following two years, expects to be involved in any such employment,
affiliation, or consultation.

8.      Promises of Confidentiality. Each Authorized Person who receives access to any
Confidential Material shall first be given a copy of this Protective Order and advised by the
counsel making the disclosure that such person must not divulge any Confidential Material to
any other person except in the preparation or trial of this lawsuit, and that such disclosure is
limited to Authorized Persons. A Promise of Confidentiality is attached as Exhibit "A". This
Promise of Confidentiality must be signed by each Authorized Person receiving any
Confidential Material in advance of receipt. A signed copy of each such Promise of


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Confidentiality shall be provided to counsel of record for the producing party within ten (10)
days of execution concerning Authorized Persons identified in sections 7(a) and 7(b) above,
with the exception of insurers and claims administrators for the parties, which shall provide the
signed original of each Promise of Confidentiality within thirty (30) days after the final
termination of this action (the earlier of execution of a settlement agreement or entry of a
judgment). In the case of Authorized Persons identified in sections 7(c) and 7(d) above, a
signed copy shall be maintained by counsel for the receiving party and provided to counsel for
the producing party by the earlier of: (a) ten (10) days after a consulting expert is designated as a
testifying expert in this lawsuit; (b) thirty (30) days after the final termination of this action (the
earlier of execution of a settlement agreement or entry of a judgment) if the consulting expert is
not designated as a testifying expert; or (c) ten (10) days prior to the deposition or trial testimony
of any Authorized Persons identified in Section 7(d) above.

9.      Storage of Confidential Material. Authorized Persons shall maintain all Confidential
Material in a secure location. Confidential material may not be entered onto any electronic
storage system that does not permit documents to be deleted. Furthermore, counsel for all parties
shall make every effort to avoid transmitting Confidential Material via e-mail or other similar
media. Authorized Persons shall maintain a record, by Bates number designation, of the
quantity of all copies or other reproductions made of each item of Confidential Material.

10.     Use of Confidential Material. All Confidential Material shall be used for the purpose
of the present, pending lawsuit only.

       (a)      No Confidential Material will be produced, disclosed, or otherwise utilized in
any other litigation, whether or not that litigation involves parties to this case. Further, no
Confidential Material shall be disseminated to or shared with any organization or entity, or any
representative thereof, that regularly disseminates documents or information regarding
documents, including abstracts or summaries, or any other Records as a service to its members,
subscribers, or others, or the representative of such an organization or entity.

        (b)   If any subpoenas, requests for production, or other forms of discovery in
connection with other litigation are served on any party to this Protective Order, or any
Authorized Person defined hereunder, that party will immediately notify the producing party's
counsel of record, provide the producing party's counsel with a copy of the subpoena or other
discovery request, and will consent to and assist in obtaining an order from the appropriate court
protecting the Confidential Material from being disseminated outside the scope of this
Protective Order.

11.     Court Records. In the event that any Confidential Material is in any way disclosed or
utilized in any pleading, motion, deposition transcript, videotape, exhibit, photograph, or other
material filed with any court, the Confidential Material shall be filed in an attached sealed
separate envelope containing the style of the case marked "CONFIDENTIAL MATERIAL
Protected by Court Order," dated and kept under seal by the clerk of that court until further court
order. Such Confidential Material shall not be uploaded onto the Court's electronic case file
system (ECF). Such Confidential Material shall, however, remain available to personnel
authorized by that court and to Authorized Persons. When practicable, however, only the
confidential portion of the pleadings filed with the court will be filed in a separate sealed


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envelope. If any Confidential Material is furnished to any court by any party, a duplicate copy
with the discrete Confidential Material deleted may be substituted in the public record, if
appropriate.

12.     Depositions. If any Confidential Material is used or referred to during any deposition,
counsel for the producing party may require that only its representatives, Authorized Persons,
the deponent, the court reporter, and the camera operator (if the deposition is videotaped) shall
be present for the portion of the deposition dealing with Confidential Material. Counsel for the
producing party may also serve a copy of this Protective Order upon the deponent, the court
reporter, and camera operator, and require that each sign the Promise of Confidentiality (Exhibit
"A") prior to further questioning. Counsel for the producing party may state on the record at the
deposition that the deposition includes information claimed to be Confidential Material.
Within forty-five (45) days of receipt of the completed deposition transcript, counsel for the
producing party shall designate by page and line the portions for which such claim is made, and
give written notice of this designation to the court reporter and all other parties. This designation
shall be placed on the first page in the original and all copies of the deposition by the court
reporter and by counsel for the parties. The designation shall include the style of the case and
may follow the form attached as Exhibit "B". Pending such designation, the deposition and all
exhibits shall be treated in its entirety as Confidential Material. Those portions of the
deposition which are designated as Confidential Material shall be bound separately under seal
and prominently marked "Confidential Material subject to Protective Order." The portions of
each deposition so designated shall be returned to trial counsel for the producing party within
thirty (30) day of final termination of this action (the earlier of execution of a settlement
agreement or entry of a judgment).

        Under no circumstances shall any Confidential Material be viewed by any deponent
who is an employee of any competitor of the producing party, or any person who, within the past
two years, has been affiliated with, employed by, or consulted with a competitor (or an entity in
privity with a competitor) of the producing party's regarding research, development, production,
or testing of tires or, over the following two years, expects to be involved in any such
employment, affiliation, or consultation.

13.     Evidence at Trial. Confidential Material may be introduced into evidence at trial, if
otherwise admissible, provided that the party seeking to do so shall give sufficient advance
notice to the Court and to the parties to allow arrangements to be made for in camera treatment
of the Confidential Material. In the event that a transcript of the trial is prepared, any party
may request that certain portions thereof, which contain trade secrets or other Confidential
Material, be filed under seal.

14.     Inadvertent Disclosure. Should any Confidential Material be disclosed to any
unauthorized persons, through inadvertence of a party or through the act or omission of any
person, the unauthorized person (a) shall be informed promptly of the provisions of this
Protective Order by the party who first learns of the disclosure, and upon such notice shall be
subject to the terms of this Protective Order; (b) shall be identified immediately to counsel of
record for the producing party; and (c) shall be directed if within control of a party, or otherwise
asked, to sign the Promise of Confidentiality (Exhibit "A"). At the producing party's sole
discretion, such unauthorized person may be required to surrender to the producing party all


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copies of Confidential Material in such unauthorized person's possession. The person or entity
whose inadvertence caused the unauthorized disclosure shall be responsible for securing the
unauthorized person's assent to the Promise of Confidentiality and for all reasonable attorneys'
fees, costs, and expenses associated with enforcement of this Protective Order.

15.     Return or Destruction of Confidential Material. Within thirty (30) days of final
termination of this action (the earlier of execution of (i) a settlement agreement or (ii) the
expiration of the time to appeal a duly entered judgment), counsel ofrecord for each party shall
either, at the choice of that party and/or its counsel:

       a.      Assemble and return to counsel of record for the producing party all Confidential
       Material produced, including all copies, notes, summaries, renderings, photographs,
       recordings, electronic storage data, and reproductions of every kind of such Confidential
       Material. Any Confidential Material entered on a computer database or other
       electronic media shall also be deleted and written over or reformatted. Any direct quote
       from or description of Confidential Material will also be returned to counsel of record
       for the producing party within thirty (30) days of final termination of this action (the
       earlier of execution of a settlement agreement or entry of a judgment). Accompanying
       the return of all Confidential Material , counsel of record for each party shall provide to
       counsel of record for the producing party a cover letter which includes: (a) a list of the
       Bates numbers of all original Confidential Material being returned; (b) a detailed
       explanation for the failure to return any original Confidential Material that had been
       produced to said counsel of record; and (c) an itemization of the number of copies being
       returned of each item of original Confidential Material, as well as an enumeration of the
       total number of copies ever made of each item of original Confidential Material. Said
       cover letter shall not disclose the title or substance of the Confidential Material. A copy
       of each such letter shall be filed with the Court. All signed Promises of Confidentiality
       shall also be forwarded to counsel of record for the producing party as provided in
       Paragraph 8.

       b.       Alternatively, all Confidential Material, including all copies, notes, summaries,
       renderings, photographs, recordings, electronic storage data, and reproductions of every
       kind of such Confidential Material, shall be destroyed in their entirety. Any
       Confidential Material entered on a computer database or other electronic media shall
       also be deleted and written over or reformatted. Following the destruction, counsel of
       record for each party shall provide to counsel of record for the producing party a cover
       letter which includes: (a) a list of the Bates numbers of all original Confidential
       Material that were destroyed; (b) a detailed explanation for the failure to destroy any
       original Confidential Material that had been produced to said counsel of record; and (c)
       an itemization of the number of copies that were destroyed of each item of original
       Confidential Material, as well as an enumeration of the total number of copies ever
       made of each item of original Confidential Material. Said cover letter shall not disclose
       the title or substance of the Confidential Material. A copy of each such letter shall be
       filed with the Court. All signed Promises of Confidentiality shall also be forwarded to
       counsel ofrecord for the producing party as provided in Paragraph 8.




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       THIS PROTECTIVE ORDER AGREED TO BY:

New York, New York
November 1, 2021


KIERNAN TREBACH LLP

    h,7.~
Lori~ayb~
Attorneys for Defendant/Third-Party P laintif.f
FIREBLAST GLOBAL, INC.
40 Exchange Place, Suite 1600
New York, New York 10005
 (332) 237-7856

White Plains, New York
November _1_, 2021

WESTCHESTER COUNTY ATTORNEY'S OFFICE


t~Esq.
Attorneys for Third-Party Defendant
COUNTY OF WESTCHESTER
148 Martine A venue, 6th Floor
White Plains, NY 10601
(914) 995-2243


IT IS SO ORDERED.

Dated: November    3, 2021
                                              Ma:gi:stfate Judge Paul E. DavisOB




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                                     EXHIBIT A
                            PROMISE OF CONFIDENTIALITY
State of - - - - - -

County of _ _ __



1.   My name 1s                I live at                                      I am employed as
_ _ _ _ _ _ _ by _ _ _ _ _ _ _ __

2.     I am aware that a Protective Order of Confidentiality between FIREBLAST
GLOBAL, INC. and COUNTY OF WESTCHESTER, dated November                             2021 (the
"Protective Order"thas been entered in the lawsuit pending in the United States District Court,
Southern District of New York, under Case No.: 7:21-cv-03132 (KMK) (PED), and a copy of
that Protective Order of Confidentiality has been given to me.

3.      I promise that I will use the Confidential Materials as defined under that Protective
Order of Confidentiality only in connection with assisting counsel of record for
Defendant/Third-Party Plaintiff or Third-Party Defendant in preparing for litigation of this
matter.

4.      I promise that I will not disclose or discuss such Confidential Materials with any person
other than counsel of record for the parties or members of their staff who are actively engaged in
the preparation of this case.

5.       I promise that I will not attempt or assist in any attempt to seek permission from any
other court to access the Confidential Materials produced in this matter for use in other
litigation or for any other purpose.

6.      I understand that any use of the Confidential Materials I obtain, in any manner contrary
to the provisions of the Protective Order of Confidentiality or this Promise of Confidentiality
may subject me to sanctions by this Court, and I agree to the jurisdiction of this Court to enforce
any such Order.

7.     I expressly consent to the jurisdiction of this Court with respect to matters within the
scope of the Protective Order of Confidentiality.

8.     I understand that violating the terms of the Protective Order of Confidentiality or this
Promise of Confidentiality could result in civil sanctions levied by the Court, as well as
criminal penalties under state law and the federal Economic Espionage Act of 1996, 18 U.S.C.
§§ 1831 et seq.

9.       Within twenty (20) days of final termination of this action (the earlier of execution of
(i) a settlement agreement or (ii) the expiration of the time to appeal a duly entered judgment), I
will return to the producing party, through delivery to counsel of record representing
Defendant/Third-Party Plaintiff or Third-Party Defendant in this case, all Confidential
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Materials or any portion or summary thereof, along with my notarized affidavit confirming the
return of said Confidential Materials and listing the bates number of each document returned. I
promise that under no circumstance will I retain any originals or duplicate of any such
Confidential Materials. I assume all responsibility for returning the Confidential Materials to
the producing party, as set forth herein, and I bear all risks associated with the purported loss,
destruction, or inadvertent disclosure of such Confidential Materials that has been entrusted to
my care. My failure to return all such Confidential Materials and/or to provide the notarized
affidavit described above will be deemed a disclosure of the confidential information in violation
of the Protective Order of Confidentiality and this Promise of Confidentiality, which may
subject me to sanctions. I expressly agree to pay all reasonable attorneys' fees, costs, and
expenses associated with enforcement of this paragraph in order to obtain my compliance with it,
in addition to any sanctions the Court may impose.


Signature                                                          Date




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                                             EXHIBITB

DEPOSITION OF
                    -----------
THIS         DAY OF - - - - - - - 20



                    DESIGNATION OF CONFIDENTIAL MATERIAL



       Pursuant to the Court Order dated _ _ _ _ _ _ _ _, the following parts of this

deposition are designated as confidential:


Signed this _ _ day of _ _ _ _ _ _, 20_
